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                 EXHIBIT E
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                  U.S. Postal Service™
          er
          U1      CERTIFIED MAIL™RECEIPT
          ru      (Domestic Mail Only; No Insurance Coverage Provided)
          cQ

          cQ
          ru
          rn 1___ _ _ __::_-,-~ ~- - - - - - ,_.,~~-..0:,-- - - _ J
          s




          D      Aestr1cted Delivery Fee
          U1    (Endorsement Required) _ __ _....
          D

          D       Total Postage
                                                                 .--
          rn    n,::-:::-.::--
          □         to
                                         Office of the
          D
          I'-   Sireer, Apt No.;                   202
                or PO Box No.                       Richmond , VA 23219
                 City, State, ZIP+

                            : 11     •
              Case 1:24-cv-01844-TNM        Document 28-5       Filed 02/11/25     Page 3 of 4
    ALERT: WINTER STORMS IN THE MIDWEST THROUGH THE NORTHEAST U.S. MAY DELAY FIN…



USPS Tracking
                                 ®                                                                  FAQs 




                                                                                                 Remove 
Tracking Number:

70030500000243288259




                                                                                                             Feedback
     Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




     Latest Update
     Your item has been delivered and is available at a PO Box at 3:18 pm on February 7, 2025 in RICHMOND,
     VA 23218.



     Get More Out of USPS Tracking:
         USPS Tracking Plus®


     Delivered
     Delivered, PO Box
     RICHMOND, VA 23218
     February 7, 2025, 3:18 pm

     See All Tracking History

 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                      
   Text & Email Updates


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   USPS Tracking Plus®


                                                                                                      
   Product Information


                                                See Less 

Track Another Package
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Enter tracking or barcode numbers




                                    Need More Help?
                      Contact USPS Tracking support for further assistance.


                                             FAQs
